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 2    6320 Raydel Court
      San Diego, CA 92120
 3    Telephone: (619) 528-9600
      Facsimile: (619) 528-9675
 4    email: cpfagan@faganlegal.com
 5    Attorneys for all Plaintiffs
 6
                                     UNITED STATES DISTRICT COURT
 7
                                     CENTRAL DISTRICT OF CALIFORNIA
 8

 9    FRANCISCO GARCIA QUIROZ, an                 )     No. 2:16cv03918-FMO-E
      individual, FABIOLA VILLALOBOS, J.B., )
10    a minor by and through her guardian ad      )     PLAINTIFFS’ FRCP RULE 26(a)(3)
      litem, CARLOS VILLALOBOS FRANCO, )                PRETRIAL DISCLOSURES
11    D.B., a minor by and through his guardian )       ___________________________
      ad litem, CARLOS VILLALOBOS                 )
12    FRANCO, M.R., a minor by and through her )        Judge:      Fernando M. Olguin
      guardian ad litem, CARLOS VILLALOBOS )            Courtroom: 6D
13    FRANCO, L.R., a minor by and through his )        PTC Date:   May 18, 2018
      guardian ad litem, CARLOS VILLALOBOS )            Trial:      June 5, 2018
14    FRANCO, Y.R., a minor by and through her )        ___________________________
      guardian ad litem, CARLOS VILLALOBOS )
15    FRANCO, I.V., a minor by and through her )
      guardian ad litem, CARLOS VILLALOBOS )
16    FRANCO, JORETHA PARKER-MOORE, )
      an individual, ROBERT MOORE, an             )
17    individual, T.M., a minor by and through    )
      his guardian ad litem, ANNA LEE, T.M., a )
18    minor by and through his guardian ad litem, )
      ANNA LEE,                                   )
19                                                )
             Plaintiffs,                          )
20                                                )
          v.                                      )
21                                                )
      DIVERSIFIED HOLDINGS, LLC, a                )
22    California Corporation; REAL ESTATE         )
      CONNECTION, a business form unknown, )
23    and DOES 1 through 10, Inclusive,           )
                                                  )
24           Defendants                           )
      ______________________________              )
25
              Pursuant to Central District L.R. 16-2 et seq. and Fed. R. Civ. P. 26(a)(3), Plaintiffs
26
      Francisco Garcia Quiroz, Fabiola Villalobos, Robert Moore, Joretha Parker-Moore, and
27

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                                         PRETRIAL DISCLOSURES                                      1
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 1    minor Plaintiffs J.B., D.B., M.R., L.R., Y.R., I.V., T.M., and T.M. ("Plaintiffs") make the
 2    following pretrial disclosures.
 3

 4    Dated: January 25, 2018                 LAW OFFICES OF CRAIG P. FAGAN
 5
                                              By: /s/Craig P. Fagan
 6                                            Craig P. Fagan
                                              Attorneys for Plaintiffs
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                                        PRETRIAL DISCLOSURES                                   2
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 1    PLAINTIFFS' WITNESSES:
 2    1.    Francisco Quiroz - This witness may be contacted through Plaintiffs’ counsel.
 3    2.    Fabiola Villalobos - This witness may be contacted through Plaintiffs’ counsel.
 4    3.    Robert Moore - This witness may be contacted through Plaintiffs’ counsel.
 5    4.    Joretha Parker - Moore - This witness may be contacted through Plaintiffs’ counsel.
 6    5.    Taariq McClenty- This witness may be contacted through Plaintiffs’ counsel.
 7    6.    T.M., a minor - This witness may be contacted through Plaintiffs’ counsel.
 8    7.    Y.R., a minor - This witness may be contacted through Plaintiffs’ counsel.
 9    8.    I.V., a minor - This witness may be contacted through Plaintiffs’ counsel.
10    9.    Fernando Ramirez - This witness may be contacted through Defense counsel.
11    10.   Yessenia Vasquez - This witness may be contacted through Defense counsel.
12    11.   Alya Lucas - This witness may be contacted through Defense counsel.
13    12.   Esther Alarcon
14          1010 Lagoon Ave, Apt. #121
15          Wilimington, CA 90744
16          (562) 415-3053
17    13.   Adilad Orozco
18          3800 West 27th Street, Apt. #315
19          Los Angeles, CA 90018
20          Telephone (310) 923-0081
21    14.   Alma Camacho
22          5788 Prestonwood Drive
23          Indianapolis, IN 46254
24          (317) 222-5309
25    15.   Jessica Cruz
26          3800 West 27th Street, Apt. #428
27          Los Angeles, CA 90018
28
                                         PRETRIAL DISCLOSURES                                     3
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 1          Telephone (323) 734-4267
 2    16.   Alexis Leon
 3          3800 West 27th Street, Apt. #11
 4          Los Angeles, CA 90018
 5          Telephone (323) 649-3158
 6    17.   Rachelle “Renee” Perez
 7          3522 Rubidoux Blvd. #7
 8          Riverside, CA 92509
 9          626-627-8433
10    18.   Martha Gonzalez
11          3800 West 27th Street, Apt. #428
12          Los Angeles, CA 90018
13          Telephone (323) 734-4267
14    19.   Maria Juarez
15          3800 West 27th Street, Apt. #206
16          Los Angeles, CA 90018
17          Telephone (213) 909-6915
18    20.   Filomena Atuatasi
19          2626 E. Dominguez Street
20          Carson, CA 90810
21          Telephone: (310) 619-0713
22    21.   Catherine Tuinei
23          2626 E. Dominguez Street
24          Carson, CA 90810
25          (310) 619-0713
26    22.   PMK for Defendant Diversified Funding, LLC - Defense counsel has contact information.
27    23.   Lavonda Rhodes
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                                        PRETRIAL DISCLOSURES                                        4
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 1          606 North Bayview Ave, Apt. #115
 2          Wilmington, CA 90744
 3          (424) 342-9570
 4    24.   Tanya Villa
 5          22009 Neptune Avenue
 6          Carson, CA 90745
 7          (424) 703-1240
 8    25.   Roberta Redner
 9          606 North Bayview Ave, Apt. #207
10          Wilmington, CA 90744
11          (424) 287-9671
12    26.   Fallon Ayala
13          606 North Bayview Ave, Apt. #306
14          Wilmington, CA 90744
15          (310) 567-7615
16    27.   Gabriella Perez
17          606 North Bayview Ave, Apt. #204
18          Wilmington, CA 90744
19          310-561-3619
20    28.   Roshaum Bagby,
21          520 S. Pannes
22          Compton, CA 90221
23          Home: (310) 970-2704, Mobile: (310) 363-5991
24    29.   Rosa Mauricio - Defense has witnesses contact information.
25    30.   Rosaline Samayoa
26          23313 Maribel Avenue
27          Carson, CA 90745
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                                        PRETRIAL DISCLOSURES                          5
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 1            (562) 206-6398
 2

 3    PLAINTIFFS' EXHIBITS:
 4

 5
       EXH.        Party Offering   Description
 6
       NO.
 7     1           P                Photograph - Entrance to Property
 8     2           P                Photograph - Mailbox area
 9     3           P                Photograph - Overhead shot of astro turf area

10
       4           P                Photograph - Second shot of astro turf area
       5           P                Photograph - Ground floor view of astro turf
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       6           P                Photograph - Ground floor view of astro turf
12
       7           P                Photograph - Upper floor view of astro turf
13
       8           P                Photograph - Side gate of parking lot
14     9           P                Photograph - Parking lot
15     10          P                Photograph - Front gate
16     11          P                Photograph - Fenced in portion of property

17
       12          P                Photograph - TV feed showing 16 different security camera feeds
       13          P                Resident Manager desk with computer and security feeds
18
       14          P                Door between resident manager unit and office
19
       15          P                Camera in front entry
20
       16          P                Camera in front entry way
21     17          P                Shot from below of Camera overhead in corner
22     18          P                Another camera in upper corner
23     19          P                Camera on exterior corner of building

24     20          P                Camera on front corner of building
       21          P                Camera near front window near entry
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       22          P                Camera at front gate
26
       23          P                Eye-in-the-sky overhead camera
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                                          PRETRIAL DISCLOSURES                                        6
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 1
       24        P            Camera in upper walkway
 2     25        P            Camera on mid-walkway
 3     26        P            Monthly Rental Agreement of Robert Moore
 4     27        P            Residential Lease Agreement of Francisco Quiroz

 5
       28        P            Lease Agreement of Fabiola Villalobos
       29        P            Three Day Notice to Robert & Joretha Moore
 6
       30        P            60 Day Notice to Move Out to Robert & Joretha Moore
 7
       31        P            Summons & Complaint for Eviction Lawsuit
 8
       32        P            Answer - Unlawful Detainer by Robert Moore and Joretha Moore
 9     33        P            March 16, 2016 letter and petition signed by residents
10     34        P            June 7, 2016 letter from Yessenia Vasquez to Mr. & Mrs. Moore
11     35        P            First Set of Request for Production of Documents and Things to

12                            Diversified Holdings, LLC

13
       36        P            Responses of Diversified Holdings, LLC to Plaintiff’s Demand for

14
                              Production of Documents and Things, Set One
       37        P            Second Set of Request for Production of Documents and Things to
15
                              Diversified Holdings, LLC
16
       38        P            Responses of Diversified Holdings, LLC to Plaintiffs’ Demand for
17
                              Production of Documents and Things, Set Two
18
       39        P            Third Set of Request for Production of Documents and Things to
19
                              Diversified Holdings, LLC
20
       40        P            Supplemental Responses of Diversified Holdings, LLC to Plaintiffs’
21
                              Demand for Production of Documents and Things, Set Three
22     41        P            Fourth Set of Request for Production of Documents and Things to
23                            Diversified Holdings, LLC
24     42        P            Responses of Diversified Holdings, LLC to Plaintiffs’ Demand for
25                            Production of Documents and Things, Set Four
26     43        P            Fourth Set of Interrogatories to Diversified Holdings, LLC

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                                   PRETRIAL DISCLOSURES                                            7
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 1
       44          P            Responses of Diversified Holdings, LLC to Plaintiffs’ Fourth Set of
 2
                                Interrogatories
 3     45          P            Second Set of Interrogatories to Diversified Holdings, LLC
 4     46          P            Responses of Diversified Holdings, LLC to Plaintiff’s Special
 5                              Interrogatories, Set Two
 6     47          P            Third Set of Interrogatories to Diversified Holdings, LLC

 7
       48          P            Responses of Diversified Holdings, LLC to Plaintiff’s Special

 8
                                Interrogatories, Set Three
       49          P            Fourth Set of Interrogatories to Diversified Holdings, LLC
 9
       50          P            Responses of Diversified Holdings, LLC to Plaintiff’s Special
10
                                Interrogatories, Set Four
11
       51          P            Fifth Set of Request for Production of Documents and Things to
12
                                Diversified Holdings, LLC
13
       52          P            Responses of Diversified Holdings, LLC to Plaintiffs’ Demand for
14
                                Production of Documents and Things, Set Five
15     53          P            Grant Deed
16     54          P            Defendant Diversified Holdings, LLC dba Real Estate Connection’s
17                              First Amended Disclosures Pursuant to Federal Rules of Civil
18                              Procedure, Rule 26(a)(1)
19

20    Dated: January 25, 2018                        LAW OFFICES OF CRAIG P. FAGAN
21

22                                                   By: /s/Craig P. Fagan
                                                     Craig P. Fagan
23                                                   Attorneys for all Plaintiffs
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                                     PRETRIAL DISCLOSURES                                             8
